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              14 PERFECTUS ALUMINIUM INC.,
                 aka “Perfectus Aluminum Inc.,” and
              15 PERFECTUS ALUMINUM ACQUISITIONS LLC
              16                               UNITED STATES DISTRICT COURT
              17             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
              18 UNITED STATES OF AMERICA,                              Case No. 19-cr-00282 RGK
              19                  Plaintiff,                            Hon. R. Gary Klausner, Ctrm. 850
              20          vs.                                           WAREHOUSE AND PERFECTUS
                                                                        DEFENDANTS’ OPPOSITION TO
              21 ZHONGTIAN LIU,                                         USA’S MOTION IN LIMINE NO. 1
                      aka “Liu Zhongtian,”                              TO PRECLUDE IMPROPER JURY
              22      aka “Chairman,”                                   NULLIFICATION ARGUMENT
                      aka “Uncle Liu,”                                  RELATED TO HARM THE
              23      aka “UL,”                                         AD/CVD ORDERS WERE
                      aka “Big Boss,”                                   INTENDED TO PREVENT
              24 CHINA ZHONGWANG HOLDINGS
                 LIMITED,                                               Trial Date:       August 10, 2021
              25      aka “ZW,”
                      aka “Mother Ship,”
              26 ZHAOHUA CHEN,
                      aka “Chen Zhaohua,”
              27      aka “Uncle Chen,”
                 XIANG CHUN SHAO,
              28      aka “Johnson Shao,”

LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
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              1 PERFECTUS ALUMINIUM, INC.,
                     aka Perfectus Aluminum Inc.,”
              2 PERFECTUS ALUMINUM
                ACQUISITIONS, LLC,
              3 SCUDERIA DEVELOPMENT, LLC,
                1001 DOUBLEDAY, LLC,
              4 VON KARMAN - MAIN STREET,
                LLC, and
              5 10681 PRODUCTION AVENUE, LLC,
              6                   Defendants.
              7
              8
              9
                   I.      INTRODUCTION
              10
                           Defendants file this memorandum in support of their opposition to the
              11
                   government’s Motion in Limine No.1 (ECF No. 192.) In their Motion to Dismiss the
              12
                   Indictment, Defendants argued that counts 11-17, and count 1 insofar as premised on
              13
                   counts 11-17, should be dismissed because, as alleged, the aluminum pallets were not
              14
                   subject to the 2011 AD/CVD Order as a matter of law.                          (Motion to Dismiss
              15
                   (ECF No 186) at 16-17.) This conclusion follows from the government’s allegations
              16
                   that Defendants neither sold nor intended to sell the imported aluminum pallets in the
              17
                   United States market as aluminum pallets (“the No Sales Argument”). 1 The Court
              18
                   has yet to rule on the Motion to Dismiss. Now, the government makes the inexplicable
              19
                   assertion that were the Defendants to concede at trial that the government is correct
              20
                   that the Defendants did not sell, nor intend to sell, any pallets that the Defendants
              21
                   would be seeking acquittal on improper grounds.                     The government is wrong.
              22
                   Acquittal, and indeed dismissal, follow inexorably from the application of
              23
                   18 U.S.C. § 545 to the government’s own case theory. As a matter of law, the
              24
              25   1
                        Defendants note that one of the government’s theories is that the pallets were
                        intended to be imported then melted down bulk aluminum in the form of “billets”
              26        for sale and use in manufacturing downstream aluminum products. On this theory,
                        the pallets at issue were scrap aluminum. The duty on imported scrap aluminum
              27        at the relevant time was 0%. Therefore, on this theory as well, the aluminum at
                        issue was not subject to the 2011 AD/CVD Orders and subject to no duty
              28        whatsoever.
                                                               2
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
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               1 government’s own allegations preclude conviction. Even if the Court does not
               2 dismiss the indictment, Defendants must be allowed to present the No Sales Argument
               3 at trial. The government’s Motion in Limine should therefore be denied.
               4 II.      RELEVANT ALLEGATIONS
               5          The government’s allegations are set out fully in the Indictment, the Opposition
               6 to the Motion to Dismiss (ECF No. 189), and the Motion in Limine No. 1
               7 (ECF No. 192.)           A summary of the government’s allegations regarding the
               8 relationships among Defendants are set out in Defendants’ Motion to Dismiss
               9 (ECF No. 186) at 8-10. This opposition sets out only those allegations which are
              10 relevant to this Opposition.
              11          The 2011 AD/CVD Orders imposed substantial duties on certain aluminum
              12 extrusions imported from the People’s Republic of China. (Indictment, at ¶ 33(y).)
              13 CZW was named in the 2011 AD/CVD Orders. (Id.) Perfectus was an importer of
              14 aluminum at the relevant time. (Id.) Following the 2011 AD/CVD Order, CZW stated
              15 in its Annual Report that it intended to shift from exporting aluminum extrusions to
              16 exporting deep-processed finished materials.                  (See e.g id., Overt Act No. 40.)
              17 According to the Indictment, “[t]he 2011 AD/CVD Orders exempted from AD/CVD
              18 duties any finished merchandise…” (Id. ¶ 28.) Counts 11-17 of the Indictment list
              19 several 7501 Forms from 2014 in which Perfectus, as the importer of CZW-
              20 manufactured pallets, described the pallet imports as not subject to duties of the 2011
              21 AD/CVD Orders. (Id. ¶ 40.)
              22          The indictment alleges that there were, in fact, no US customers for the pallets
              23 (Id. ¶ 33(z)(cc)); that they were simply “tack-welded” together (Id. ¶ 33(y)); and,
              24 consequently, that they were not true finished merchandise (Id. ¶ 33(z)(aa).) At the
              25 direction of Defendant Liu, the supposed mastermind of the scheme, “none of these
              26 pallets were ever sold.” (Id. ¶ 33(h).) Instead, again at the direction of Liu, they were
              27 “stockpile[d] and cause[d] to be stockpiled…” in the warehouses belonging to the
              28 Warehouse Defendants. (Id. ¶ 33(j).)
                                                                      3
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
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               1          This alleged plan to keep the pallets out of US commerce is, itself, stated to be
               2 essential to the wire fraud scheme the government alleges. (Id.) (“By stockpiling and
               3 causing to be stockpiled the aluminum extrusions in the form of pallets, [Defendants]
               4 maintained the pretense that the sales of aluminum pallets to the Perfectus predecessor
               5 entities were actual sales to customers in the United States.”) In the end, Defendants
               6 “never sold the aluminum pallets to end-users, and instead simply hid them in
               7 warehouses in CDCA owned by the Warehouse Defendants.” Opposition to Motion
               8 to Dismiss (ECF No. 189) at 5. Subsequently, at Liu’s direction, the aluminum pallets
               9 in the CDCA warehouses were exported to Vietnam. (Id.)
              10 III.     LEGAL STANDARD
              11          A motion in limine is a procedural device to obtain an early and preliminary
              12 ruling on the admissibility of evidence. Mitchell v. Rosario, 2015 U.S. Dist. LEXIS
              13 148381 (E.D. Cal Nov. 2, 2015). Therefore, “a ruling on a motion in limine is
              14 essentially a preliminary opinion that falls entirely within the discretion of the district
              15 court.” City of Pomona v. SQM N. Am. Corp., 866 F.3d 1060, 1070 (9th Cir. 2017)
              16 (internal citations omitted). However, “[t]o exclude evidence on a motion in limine,
              17 the evidence must be inadmissible on all potential grounds. Unless evidence meets
              18 this high standard, evidentiary rulings should be deferred until trial so that questions
              19 of foundation, relevancy and potential prejudice may be resolved in proper context.”
              20 United States v. Hitesman, 2016 U.S. Dist. LEXIS 84775, (N.D. Cal June, 28, 2016)
              21 (internal citations and quotation marks omitted).
              22 IV.      ARGUMENT
              23          In these proceedings, the government seeks to recover as restitution $1.8 billion
              24 in duties which Defendants allegedly evaded by declaring that the pallets were not
              25 subject to the 2011 AD/CVD Orders. In contrast to the government’s inappropriate,
              26 prejudicial, and legally conclusory use of the word “smuggling,” the pallets were
              27 imported in plain view. They were declared, made available for inspection, and
              28 liquidated in accordance with normal procedure.                       The government had every
                                                                      4
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
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               1 opportunity to inspect each of the 2.2 million pallets it alleges entered the US in the
               2 relevant period. If there was any concern that the 2011 AD/CVD Orders applied,
               3 Customs would have either (1) raised objections at the time; (2) sought to reliquidate
               4 the entries; or (3) suspended the liquidation period as expressly permitted by statute
               5 See 19 USCS § 1501; 19 USCS § 1504(b). Instead, Customs voluntarily liquidated
               6 the entries in accordance with its ordinary practice. Perfectus Aluminum, Inc. v.
               7 United States, 391 F. Supp. 3d 1341, 1358 n. 19 (Ct. Int’l Trade 2019). During civil
               8 litigation, the government admitted it was time-barred from reliquidating the entries
               9 to retrospectively claim any AD/CVD duties. Id. at p. 1358 n. 18. Now it makes
              10 improper use of criminal law by attempting to recover duties which it was never
              11 entitled to and which it is time-barred from claiming in any case. Equally egregiously,
              12 it seeks to exclude evidence and argument about (1) whether the duties could have
              13 applied and (2) Defendants’ state of mind as it pertains to that issue. As argued below,
              14 evidence as to both issues is directly relevant to the elements of Section 545.
              15          The starting point is the elements of the offense in Section 545. As noted in its
              16 brief, the government must prove that (1) defendants knowingly passed a Form 7501
              17 through a customshouse of the United States; (2) defendants knew that the Form 7501
              18 was false, forged, or fraudulent; (3) defendants acted willfully with intent to defraud
              19 the United States; and (4) the Form 7501 had a natural tendency to influence, or was
              20 capable of influencing, action by the United States. Ninth Circuit Model Jury Instr.
              21 No. 8.36 (2010 ed.).
              22          On the government’s own express factual theory and allegations, it is
              23 impossible to satisfy element 2 or 3 of Section 545. Specifically, none of the
              24 following can be proved: (1) that any Defendant acted with intent to defraud the
              25 United States; (2) that any Form 7501 was false; and (3) that any Defendant knew
              26 that Form 7501 was false. This is because the government alleges that the aluminum
              27 pallets were intentionally “stockpiled,” or “intended to be melted down,” or
              28 “exported” outside the United States. None of these commercial strategies implicates
                                                                      5
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
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               1 the application of customs duties under the law, and, therefore, any entity engaging
               2 in these strategies could not have the fraudulent intent necessary to violate
               3 Section 545.
               4          AD/CVD orders are made under the aegis of the Tariff Act 1930.
               5 19 U.S.C. § 1673 gives a competent authority power to impose an anti-dumping order
               6 if it determines, among other requirements, “that a class or kind of foreign
               7 merchandise is being, or is likely to be, sold in the United States at less than its fair
               8 value…” (Emphasis added). 19 U.S.C § 1671 provides for countervailing duties to be
               9 applied with respect to “a class or kind of merchandise imported, or sold (or likely to
              10 be sold) for importation, into the United States.” The government’s own motion
              11 recognizes the purpose of these laws: (“Dumping occurs when a foreign company
              12 sells a product in the United States for less than fair value—that is, for a lower price
              13 than in its home market. Similarly, a foreign country may provide a countervailable
              14 subsidy to a product and thus artificially lower its price.” (ECF No 192 at p. 2 n.3)
              15 (internal citations omitted). It follows that aluminum products which are neither sold
              16 nor likely to be sold in the United States must fall outside the scope of an AD/CVD
              17 order.
              18          Defendants adopt the case law and statutes cited in their Motion to Dismiss
              19 pertaining to this interpretation of AD/CVD orders. (Motion to Dismiss
              20 (ECF No. 186) at 16-17.) The following propositions are relevant to this Opposition:
              21 Antidumping orders target “imported products being sold, or likely to be sold, at less
              22 than their fair value to the harm of a domestic industry.” Zenith Electronics Corp. v.
              23 United States, 99 F.3d 1576, 1577 (Fed. Cir. 1996). Countervailing duties target
              24 subsidized products “imported, or sold (or likely to be sold) for importation into the
              25 United States” that cause or threaten injury to an industry in the United States.
              26 19 U.S.C. § 1671(a). When determining the amount of a duty, products that are not
              27 sold are not to be included in the calculation. See NSK Ltd. v. United States, 115 F.3d
              28 965, 973 (Fed. Cir. 1997); see SKF USA Inc. v. United States, 118 F.Supp.2d 1315,
                                                                      6
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
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               1 1319 (Ct. Int’l Trade 2000) (“the distribution of [products] for no consideration falls
               2 outside the purview of 19 U.S.C. § 1673.”). In this context, an exporter’s sale price
               3 is the “price at which merchandise is sold or agreed to be sold in the United States.”
               4 NSK, 115 F.3d at 969 (quoting 19 U.S.C. § 1677a) (emphasis added); see also
               5 ArcelorMittal USA LLC v. United States, 302 F. Supp. 3d 1366, 1370 (Ct. Int’l Trade
               6 2018) (holding the date of sale defines the universe of sales that are subject to
               7 Commerce’s determination of anti-dumping duties).
               8          It is therefore clear that none of Defendants’ commercial strategies, as alleged
               9 by the government, implicate US customs laws. The Tariff Act 1930 precludes the
              10 application of AD/CVD orders to the alleged conduct. The government contends,
              11 however, that Section 545 operates in a vacuum without consideration of the relevant
              12 customs laws. It argues, citing an inapposite case about bank fraud (Shaw v. United
              13 States, 137 S. Ct. 462, 467 (2016)), that its burden under Section 545 does not include
              14 proof that Defendants harmed or intended to harm the United States. Bank fraud is
              15 not analogous, however, because AD/CVD orders are made under authority of
              16 primary legislation. Therefore, if the Tariff Act of 1930 exempts the alleged conduct
              17 from the purview of AD/CVD orders, a court must consider that Act in assessing the
              18 mens rea element of Section 545.
              19          Section 545 requires that the Defendants acted with intent to defraud the United
              20 States.      For the offense of passing false or fraudulent documents through a
              21 customshouse, this requires that the Defendants acted with an intention to avoid and
              22 defeat the customs laws of the United States. United States v. Robinson, 147 F.3d
              23 851, 854 (9th Cir. 1998) (“Thus, the intent to defraud element of that statute should
              24 be construed as meaning intent to avoid and defeat the United States customs laws”)
              25 (emphasis added). 2 This clearly requires an inquiry into the customs laws alleged to
              26
                   2
              27       Note that the government’s Motion in Limine describes the mens rea requirement
                       in Robinson as an intent to “avoid or defeat the United States customs laws.”
              28       While this formulation appears at page 854 of the Robinson judgment, the Court
                                                                      7
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
                           NULLIFICATION ARGUMENT RELATED TO HARM THE AD/CVD ORDERS WERE INTENDED TO PREVENT
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               1 have been violated. In this case, the Tariff Act 1930 precludes the application of
               2 customs duties to the aluminum pallets if they were not destined for sale in
               3 US markets. It is simply impossible for the Defendants to have intended to avoid and
               4 defeat customs laws which, on the government’s own case theory, could never have
               5 been levied.
               6          A similar analysis applies for the second element of Section 545. The “falsity”
               7 the government relies on is the representation in Form 7501 that the AD/CVD orders
               8 did not apply. (ECF No. 192 at 4.) To prove a Section 545 offense, therefore, the
               9 government must prove that (1) the AD/CVD orders did apply and (2) that Defendants
              10 knew this fact at the time they submitted the 7501 forms. The No Sales Argument
              11 renders it impossible for the government to prove either proposition. Defendants’
              12 position is that this warrants dismissal. If the court disagrees, however, this issue
              13 must be left within the proper province of the jury. Evidence supporting the argument
              14 would entitle a jury to find that (1) there was no “falsity” and (2) even if the
              15 government proves the AD/CVD orders did apply, the language of the Tariff Act of
              16 1930 is such that Defendants could not have known that this was the case. Far from
              17 the government’s outlandish claims of jury nullification, the No Sales Argument
              18 requests a straightforward application of the elements of Section 545 to the facts as
              19 alleged by the government. This is the very essence of a criminal jury’s task. (United
              20 States v. Kleinman, 880 F.3d 1020, 1031, (9th Circuit 2018) (“[It] is the duty of juries
              21
              22      consistently uses the “avoid and defeat” formulation throughout. Furthermore,
                      Robinson intended to confirm the 9th Circuit’s previous decision in United States
              23      v. Boggus, 411 F.2d 110 (9th Cir. 1969). (Robinson at 853) (“The intent to defraud
                      element of [Section 545] should be construed as meaning intent to avoid and defeat
              24      the United States customs laws, as construed in Boggus, rather than the narrower
                      construction intent to deprive the United States of revenue.”) (Internal citations
              25      omitted). The Boggus Court used only to the “avoid and defeat” formulation.
                      Boggus at 113 (“Intent to defraud the United States means intent to avoid and
              26      defeat the United States customs laws.”) (Emphasis added). The Robinson Court’s
                      single use of the “avoid or defeat” formulation therefore should not override the
              27      Court’s otherwise repeated use of the “avoid and defeat” formulation. See also
                      United States v. Ahmad, 213 F.3d 805, 811, (4th Circuit 2000) (Interpreting
              28      Robinson as authority for the “avoid and defeat” formulation).
                                                             8
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
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               1 in criminal cases to take the law from the court, and apply that law to the facts as they
               2 find them to be from the evidence.”) (Internal citations omitted).)
               3 V.       CONCLUSION
               4          Because the No Sales Argument is relevant to whether the government can
               5 meet its burden to prove each and every element of a Section 545 violation, the
               6 government’s Motion in Limine No. 1 should be denied.
               7
               8 Dated: July 19, 2021                          LARSON LLP
               9
              10                                               By:             /s/ Hilary Potashner 3
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                                                                    Hilary Potashner
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              15
              16 Dated: July 19, 2021                          RUYAKCHERIAN LLP
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              22
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              25
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              27   3
                       Pursuant to Local Rule 5-4.3.4, I attest that Counsel for Defendants Perfectus
              28       Aluminium Inc., aka “Perfectus Aluminum Inc.,” and Perfectus Aluminum
                       Acquisitions LLC concurs in this filing’s content and has authorized its filing.
                                                             9
LOS ANGELES        WAREHOUSE AND PERFECTUS DEFENDANTS’ OPPOSITION TO USA’S MOTION IN LIMINE NO. 1 TO PRECLUDE IMPROPER JURY
                           NULLIFICATION ARGUMENT RELATED TO HARM THE AD/CVD ORDERS WERE INTENDED TO PREVENT
